Case 19-53270-sms       Doc 34   Filed 06/17/19 Entered 06/17/19 14:47:37              Desc Main
                                 Document     Page 1 of 3




  IT IS ORDERED as set forth below:



   Date: June 17, 2019
                                                    _________________________________

                                                                Sage M. Sigler
                                                         U.S. Bankruptcy Court Judge

 ________________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                          :
                                                :      Case No. 19-53270-SMS
JASON WARD FREEMAN,                             :
                                                :
         Debtor.                                :      Chapter 7


                   ORDER GRANTING EMPLOYMENT OF ACCOUNTANT

         On June 16, 2019, Martha Miller, Trustee, filed an application for employment of

accountant (the “Application”) with this Court (Dkt. No. 32). No notice or hearing on the

Application is necessary.   The Application and accompanying affidavit demonstrate that

Stonebridge Accounting & Forensics, LLC is a firm of accountants qualified to practice in this
Case 19-53270-sms        Doc 34     Filed 06/17/19 Entered 06/17/19 14:47:37             Desc Main
                                    Document     Page 2 of 3


Court, that they are disinterested and represent no interest adverse to Debtor or the estate, and

that this case justifies employment of a professional for the purpose specified. Accordingly, it is

hereby

         ORDERED that, pursuant to 11 U.S.C. §327 and Bankruptcy Rule 2014, the Application

is granted. Trustee is authorized to employ Stonebridge Accounting & Forensics, LLC as her

accountant during the Debtor’s Chapter 7 case, subject to objection filed by the U. S. Trustee or

any other party in interest in this case within twenty-one days from the date of entry of this order.

It is further,

         ORDERED that compensation shall be paid to Stonebridge Accounting & Forensics,

LLC upon notice, hearing and approval by the Court pursuant to 11 U.S.C. §§330 and 331 of an

appropriately detailed application which complies with the Guidelines established by the U. S.

Trustee.

                                    [END OF DOCUMENT]


Prepared and Presented By:

 /s/ Martha A. Miller
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                                     DISTRIBUTION LIST

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Case 19-53270-sms    Doc 34   Filed 06/17/19 Entered 06/17/19 14:47:37   Desc Main
                              Document     Page 3 of 3



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